
PER CURIAM.
|, Denied. The application was not timely filed in the district court, and relator has failed to carry his burden to show that an exception applies. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189. Moreover, relator’s claims are repetitive pursuant to La.C.Cr.P. art. 930.4.
Relator has now filed and fully litigated his application for post-conviction relief in the state courts. Similar to federal habeas *561relief, see 28 U.S.C. § 2244, Louisiana post-conviction procedure envisions the filing of a second or successive application only under the ’narrow circumstances provided iri LaC.Cr.P. art. 930.4 arid within the limitations period as set out in La. C.Cr.P. art. 930.8. ’ Notably, the Legislature in 2013 La. Acts 251 amended that article to make the procedural bars against successive filings mandatory. Relator’s claims have now been fully litigated in accord with LaC.Cr.P. art. 930.6, and this denial is final. Hereafter, unless he' can show that one of the narrow exceptions authorizing the filing of a successive application applies, Lrelator has exhausted his right to state collateral review. The District Court is ordered to record a minute entry consistent with this per curiam.
